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                                  COURT OF COMMON PLEAS
                                  HAMILTON COUNTY, OHIO
                                      CIVIL DIVISION

NY’LEAH BRAY, a Minor, By her Parents,                          )      CASE NO.:
Natural Guardians, and Next Friends                             )
DWAN BRAY and AARON BRAY                                        )
                                                                )      JUDGE:
        Plaintiffs,                                             )
                                                                )
v.                                                              )      AFFIDAVIT OF MERIT OF
                                                                )      MARC H. INCERPI, M.D.
BON SECOURS MERCY HEALTH, INC., et al.                          )      CIVIL RULE 10(D)(2)
                                                                )
        Defendants.                                             )
                                                                )
                                                                )

                 CALIFORNIA
STATE OF               )
                       )                ss.
          LOS ANGELES
COUNTY OF             )

        COMES NOW, Affiant Marc H. Incerpi, M.D., first being duly sworn, deposes and states

as follows:

     1. I submit this Affidavit of Merit in accordance with Civ. R. 10(D)(2)(a) of the Ohio Rules

        of Civil Procedure.

     2. I am a medical doctor licensed to practice medicine by the State of California and am in

        good standing with the State of California’s Medical Board.

     3. I am board-certified through the American Board of Obstetrics and Gynecology in the

        fields of Obstetrics & Gynecology with additional sub-specialty certification in Maternal-

        Fetal Medicine.

     4. I am a qualified expert as set forth in Ohio Rules of Evidence 601(D) and 702.

     5. I devote at least 75% of my professional time to active clinical practice in my fields of

        licensure or to its instruction in an accredited university.
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  6. I have reviewed the medical records reasonably available to the Plaintiffs, including The

     Christ Hospital Physicians – Obstetrics and Gynecology, Brown County Women’s Health,

     LLC, Women’s Wisdom, Mercy Health – Anderson Hospital, and Cincinnati Children’s

     Hospital concerning the prenatal and labor and delivery care and treatment of Dwan Bray

     and the birth of Ny’Leah Bray, which give rise to Plaintiffs’ allegations contained in their

     Complaint.

  7. Based upon my knowledge, training, education, and experience as a board-certified

     Obstetrician & Gynecologist with sub-board certification in Maternal-Fetal Medicine, I am

     familiar with the hospital, medical, and nursing standards of care applicable to this case.

  8. Based on my knowledge, training, education, and experience, coupled with my review of

     the available medical records, it is my opinion to a reasonable degree of medical probability

     and/or certainty that the Defendants, Bon Secours Mercy Health, Inc., Mercy Health –

     Anderson Hospital, LLC, Brown County Women’s Health, LLC, Brown County Women’s

     Health, Inc., Barbara Patridge, M.D., Timothy Thress, M.D., and Lisa Toft, R.N. breached

     the applicable standards of care in rendering hospital, medical, and nursing care and

     treatment to Dwan Bray and her fetus Ny’Leah Bray. It is also my opinion to a reasonable

     degree of medical probability and/or certainty that the Defendants’ individual and

     collective breaches of the applicable standards of care were a direct and proximate cause

     of Ny’Leah Bray’s permanent neurological injuries and damages.


FURTHER YOUR AFFIANT SAYETH NOT.



                                                   MARC H. INCERPI, M.D.




                                              2
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STATE OF Virginia         )
                          )      ss.
COUNTY OF      Petersburg)City

     SWORN TO and subscribed before me this 21st day of   April             , 2020.
     Marc H Incerpi




                                            NOTARY PUBLIC

                                            My commission expires:   09/30/2021

                                            Notarized online using audio-video communication




                                        3
